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Cc:              Allen, Molly K; Tafoya, Eva K; Haber, Bruce P; Griego, Mandy V
Subject:         [EXTERNAL] Lead-based paint requirements in a PBV property
Date:            Monday, July 31, 2023 3:44:55 PM


Hi Cheryl, here’s the information I shared in our meeting today. You can share this email as you
requested. For a PBV property:

       HUD’s lead-based paint (LBP) regulations (also known as the Lead Safe Housing Rule) apply to
       the entire property when there is PBV assistance, and not just where there are units with
       children
       HUD considers lead-based paint hazards to be HQS violations. Deteriorated paint in a
       property built before 1978, and all lead-based paint hazards identified in a risk assessment,
       would be HQS violations.
       A lead-based paint risk assessment allows for unit and component sampling, as determined
       by the certified Risk Assessor. The results thus apply to all units and relevant components,
       even if every unit and component in the property was evaluated.
       PHAs have the authority under 24 CFR 983.103(e)(1) to inspect PBV units for HQS violations.
       A PHA can exercise this authority at its discretion, e.g. when there is a resident complaint, or
       for “any other information coming to its attention”
       Owners are responsible for complying with the Lead Safe Housing Rule and HQS at all times
       PHAs are expected to monitor owners for compliance with the Lead Safe Housing Rule, and to
       perform abatement, termination or suspension of HAP when HQS violations are identified

Here are some additional answers to specific questions we discussed:

       When a child is identified with an EBLL, there are additional lead testing and hazard control
       requirements. These requirements differ from what’s required for initial and ongoing lead-
       based paint evaluations, and those requirements vary by the type and level of assistance. The
       guidance documents you asked about (HQS checklist instructions, HUD HCV Program
       Guidebook) are only applicable to the HCV or tenant-based program. They do not cover the
       requirements for project-based vouchers, and do not include the additional (different)
       requirements for responding to a child with an EBLL.

       The NSPIRE regulations made no change to the requirements in 24 CFR Part 35. For
       properties inspected by REAC, we added a new standard for a visual assessment of
       deteriorated paint for properties, but that change does not impact HCV and PBV programs.

       The term “expected to reside” is discussed in the Interpretive Guidance on HUD’s Lead Safe
       Housing Rule [hud.gov] prepared by HUD’s Office of Lead Hazard Control and Healthy Homes.
       See questions B11 for an elderly-only designed property and M1 regarding pregnancy. This
       definition is relevant for the additional evaluation/risk assessments requirements after a child
       with an EBLL is identified in a property with project-based HUD assistance in other units. It is
       not directly relevant to the rest of Subpart H, because the requirements for a LBP Risk
       Assessment, lead hazard control, and ongoing monitoring (including follow up risk


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       assessments, and visual assessments) apply to all assisted units in the property and not just
       those where a child resides or is expected to reside.

       PIH Notice 2017-13 [hud.gov] covers the response required when there is a child EBLL. It
       includes a few, but not all the other initial and ongoing evaluation and hazard control
       requirements for HUD-assisted properties. When more than one unit in a property has HUD
       assistance, it requires additional testing of the units with children <6 and units where there
       are known pregnant women. (You are not required to ask about pregnancy status, though.)

        If a child is identified with an EBLL, there are other requirements for lead-based paint
        evaluation and control that also should be completed if they were not done with the initial
        PBV approval.

        Under 24 CFR Part 35 Subpart H [ecfr.gov], properties with project-based HUD assistance
        (e.g. Project-based Vouchers, Project-based Rental Assistance) require a Lead-based Paint
        (LBP) Risk Assessment of the property before the vouchers are approved. (See § 983.101(c)
        [ecfr.gov].) Depending on the results of the initial LBP Risk Assessment and the method of
        lead hazard control performed, the property may require an additional risk assessment
        every two years. Also, each unit must receive a visual assessment for deteriorated paint at
        least annually. See § 35.1355 [ecfr.gov] for the ongoing requirements. The lead-based paint
        requirements apply to all HUD-assisted units in the property, regardless of occupancy by
        children under 6. The unit-sampling done in the Risk Assessment is determined by a certified
        LBP Risk Assessor according to Chapters 5 and 7 of the Guidelines for the Evaluation and
        Control of Lead-Based Paint Hazards in Housing. [hud.gov] Because a LBP Risk Assessment is
        a representative sampling of the property (and the regulations at 24 CFR Part 35 Subpart H
        [ecfr.gov] cover all of the HUD-assisted units in property) – the lead hazard control work
        must be completed in ALL assisted units. The deadline for completing the work varies by
        whether there is a child in the unit, though. See § 35.730 (f) [ecfr.gov].

       The HUD 52580-A is used for tenant-based rental assistance/Housing Choice
       Vouchers, because it includes the requirements under Subpart M, not Subpart H for
       Project-based Assistance. Occupancy by a child is not a required trigger for the PBV
       program like it is for HCV. PBV properties also require periodic inspections in addition
       to the inspection of units at turn-over. See § 983.103 [ecfr.gov]. While PHAs may use
       this form for unit turnover inspections, it does not supersede the requirements for the
       property required in at § 983.101 and 24 CFR Part 35 Subpart H [ecfr.gov].

       CHAPTER 10 (hud.gov) [hud.gov] – HCV Program Guidebook: This chapter covers the HCV
       program requirements (24 CFR Part 35 Subpart M), not the lead-based paint requirements in
       the PBV program (Subpart H). We will update this chapter for NSPIRE and add that
       clarification.


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